       Case 1:17-cv-00228-SPB Document 87 Filed 01/29/19 Page 1 of 1




                          UNITED ST ATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF PENNSYLVANIA

MONTRICE BOLDEN,
              Plaintiff,

               V.                                         Civil Action No. I :l 7-CV-228-MRH

STEVEN DELUCA, individually,
IRA BUSH, individually,
WILLIAM GOOZDICH, individually,
JACOB SACK, individually,
NICK STADLER, individually,
JERRY STEVENS, individually,
                   Defendants

                        ORDER OF DISMISSAL WITH PREJUDICE

       Plaintiff Montrice Bolden ("Plaintiff') and Defendants Steven Deluca, Ira Bush, William

Goozdich, Jacob Sack, Nick Stadler, Jerry Stevens, Joseph E. Sinnott, Donald Dacus, and the

City of Erie (together, the "Defendants"), have stipulated and agreed, pursuant to Fed. R. Civ. P.

4l(a)(l)(A)(ii), that all claims in the above captioned action are dismissed with prejudice, with

all attorneys' fees, costs of court and expenses to be borne by each party incurring the same.

       Accordingly, it is hereby ORDERED that all claims in the above captioned action as to

the Defendants are dismissed with prejudice, with all attorneys' fees, costs of court and expenses

to be borne by each party incurring the same.

       DONE AND ORDERED, this 29th day of January                 , 2019.




                                                     United States District Court Judge
